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 1                          UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
 2
         -----------------------------------------------------------
 3                                         )
          United States of America,        ) File No. 14-CR-315
 4                                         )           (MJD/FLN)
                  Plaintiff,               )
 5                                         )
          vs.                              ) Minneapolis, Minnesota
 6                                         ) February 22, 2017
          Mahdi Hussein Furreh,            ) 10:06 a.m.
 7                                         )
                  Defendants.              )
 8                                         )
         -----------------------------------------------------------
 9
                              BEFORE THE HONORABLE
10                               MICHAEL J. DAVIS
                        UNITED STATES DISTRICT COURT JUDGE
11                             (SENTENCING HEARING)

12       APPEARANCES
          For the Plaintiff:            UNITED STATES ATTORNEY'S OFFICE
13                                      Charles J. Kovats, Jr., AUSA
                                        600 U.S. Courthouse
14                                      300 South Fourth Street
                                        Minneapolis, MN 55415
15
           For the Defendant:           FEDERAL DEFENDER'S OFFICE
16                                      Manvir K. Atwal, ESQ.
                                        U.S. Courthouse, Room 107
17                                      300 South Fourth Street
                                        Minneapolis, MN 55415
18
           Court Reporter:              STACI A. HEICHERT,
19                                      RDR, CRR, CRC
                                        1005 U.S. Courthouse
20                                      300 South Fourth Street
                                        Minneapolis, Minnesota 55415
21

22

23           Proceedings recorded by mechanical stenography;
         transcript produced by computer.
24

25



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 1                              P R O C E E D I N G S

 2                                   IN OPEN COURT

 3                    THE COURTROOM DEPUTY:      The United States of

 4       America versus Mahdi Hussein Furreh; Criminal Case No.

 5       14-CR-315.    Counsel, please state your appearances for the

 6       record.

 7                    MR. KOVATS:   Good morning, Your Honor.      Charles

 8       Kovats for the United States.       And I'm joined at counsel

 9       table by FBI Special Agent Michael Iverson.

10                    THE COURT:    Good morning.

11                    MS. ATWAL:    Good morning, Your Honor.      Manny Atwal

12       on behalf of Mahdi Furreh who is sitting next -- who is

13       standing next to me.

14                    THE COURT:    Good morning.    Please step forward.

15       All right.    We stopped yesterday because I had been given

16       information that you were spending quite a bit of time at

17       mosque, and we wanted to verify that, and we got -- I got a

18       report back late yesterday afternoon and I e-mailed it to

19       Ms. Atwal and to the government.        Have you had an

20       opportunity to look at it?

21                    THE DEFENDANT:   Yes, Your Honor.

22                    THE COURT:    All right.   And so I was given

23       incorrect information about you being at the mosque.             And so

24       as I have told your attorney and the government in chambers

25       that it -- it will have no effect on what's happening here.



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 1       You understand that?

 2                   THE DEFENDANT:    Thank you, Your Honor.

 3                   THE COURT:    Yeah, it's -- when the information is

 4       transmitted through two or three people, it shouldn't be

 5       mistranslated to the judge but it was.        And, of course, I'm

 6       not happy about that, and I'll deal with that later.             We've

 7       called your employer, and you do not have a job now.             Did

 8       your -- Ms. Atwal, did you talk to him about that?

 9                   MS. ATWAL:    Just very, very briefly.     I just told

10       him that he -- his boss has fired him.

11                   THE COURT:    All right.   Is there anything else

12       that you wish to tell me, sir?

13                   THE DEFENDANT:    Your Honor, I want to say I -- I

14       regret what I have done, and I'm always sorry and for that I

15       committed to myself to be truthful and to always be positive

16       and upfront with myself, the government, with the community,

17       with my family, Your Honor.

18                   THE COURT:    Well, that -- the problem now is that

19       you have to put down on any job application what you've been

20       convicted of.    Do you understand that?      You can't hide that.

21       Do you understand that?

22                   THE DEFENDANT:    Yes, Your Honor.

23                   THE COURT:    Anything further, Ms. Atwal?

24                   MS. ATWAL:    Just briefly, Your Honor.     Looking

25       back at his employment record, even though there's been



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 1       times where he's been unemployed, whether it is because of

 2       medical issues or a temporary job finished, he was able to

 3       find a job soon after.      Thankfully the title of what he pled

 4       guilty to is false statements instead of something that has

 5       the word "terrorism" in it.      Now, obviously, if the

 6       employer, if they ask more questions, he's going have to be

 7       honest about that.     But I am hopeful with that conviction he

 8       can still go back and be able to find temporary work.            I

 9       highly doubt he's going to be able to get a trucking job

10       given the serious background checks that they do, but if it

11       is any type of work, I know Mr. Furreh really wants to work

12       because one thing he's loved about truck driving is how much

13       he can support his family and that includes his youngest

14       siblings and his three daughters.

15                   The second thing I do want to touch upon is

16       looking, again, from July of 2012 up to October of 2014,

17       that wasn't the Mahdi Furreh that I represent today.             It was

18       that person that lied and did very bad things, and although

19       when he went to go join Al-Shabaab he did decide, wait a

20       minute, this is not the right thing and came back, I think

21       that's an important message for people in the community too,

22       that if you come back, you will be punished, as he has been,

23       he has been prosecuted in federal court, he's been wearing

24       an alcohol -- or a excuse me, an ankle monitoring bracelet

25       for over two years now, and he has been receiving that



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 1       punishment.    But I want it to be also known that if they do

 2       come back, there -- it's not going to be the end of the

 3       world, you're still alive, you're not dead, you're not being

 4       put in a body bag.     That is an important message to give to

 5       the community.     And, again, although Mr. Furreh has kind of

 6       distanced himself from a lot of folks because originally

 7       when there was a lot of stuff going on, people coming up to

 8       him, asking him if he was cooperating or what he was doing,

 9       and he didn't want that pressure on his family.

10                   Since October of 2014, as he has said to the

11       Court, he's really tried to show everybody that he is making

12       up for his mistakes and he's made for those mistakes such

13       that the government was able to file a motion.         And that is

14       very important to know that that did happen and there is a

15       reason that it happened is that we do see Mr. Furreh

16       changing those habits of thinking it's okay to lie, whether

17       it's to a government agent or in front of a grand jury.

18       Both of those occasions have been changed for the better

19       after October 2014.

20                   Your Honor, with that, again, I stand by my

21       request, understanding that there's issues out there such as

22       the lying that happened pre-2014, but, again, I would ask

23       the Court to balance that with what we see for the last two

24       years and three months -- four months because it is

25       significant, and that is the Mr. Furreh that we see today,



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 1       not the one from 2014, 2013, and 2012.

 2                   THE COURT:    Anything for the government?

 3                   MR. KOVATS:    Yes, Your Honor, if I may.

 4                   Your Honor, I know the government has submitted a

 5       lot for the Court to consider in writing and so I won't

 6       repeat what I've written orally here, but I do want to

 7       make -- I want to argue that the sentence requested by the

 8       defendant doesn't satisfy the 3553(a) factors and is not

 9       appropriate here.

10                   We do accept as true that Mr. Furreh has done well

11       on release.    He's maintained work, he's cared for his

12       family, he's otherwise remained productive, and we take no

13       issue with that and we commend him for that.         But we don't

14       believe that the Court's analysis should end there.          A

15       sentence based only on his good conduct after his plea

16       ignores two different things.       I think they're related.     One

17       is how this -- how the Court's sentence today should

18       consider what has been done previously and what the Court,

19       in the government's view, respectfully thinks the Court

20       should consider in a forward-looking way.         First, the

21       government previously recommended a guidelines sentence of

22       37 to 46 months, and that was after considering cooperation

23       for a previous defendant Adarus Ali who was sentenced

24       following his plea to perjury, and the Court went beneath

25       the government's recommendation and sentenced him to



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 1       24 months.

 2                    And that defendant, in some ways, had a lot in

 3       common with this defendant.      That defendant was on pre-trial

 4       release, maintaining good employment, caring for his family,

 5       and the Court imposed a sentence that was 25 percent of the

 6       96-month guidelines range.      At that time, you know, Adarus,

 7       you know, again, he committed perjury, he didn't attempt to

 8       travel, at the time he lied Al-Shabaab had been designated

 9       for about 18 months as a designated terrorist organization,

10       certainly he should have known better.        This defendant when

11       he lied the first time Al-Shabaab had been designated for

12       five years and I think at that point it was unambiguously a

13       terrorist organization and the support for that organization

14       is and was indefensible.

15                    I also think a sentence of time served and I think

16       is more of a forward-looking interest that should be

17       reserved for those defendants who distinguish themselves

18       from this defendant in a more positive way.         For those

19       defendants who accept responsibility from the outset when

20       first approached by law enforcement, when first asked to do

21       the right thing, for those defendants who cooperate in

22       court, testify in open court against others, this defendant

23       didn't, he didn't have the opportunity to do so, so this

24       isn't a knock on him that he didn't, but at the same time,

25       when the Court values cooperation, it should consider people



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 1       who do the right thing right away and do things that are

 2       more extraordinary.     And so a sentence of time served

 3       provides no room, in the government's view, to account for

 4       people in that situation, of which there are some.          I would

 5       submit to Your Honor that a sentence akin to probation here

 6       for someone who maintained his lies for two -- nearly two

 7       years deserves a sentence of nearly two years.

 8                    When the government approaches the next defendant

 9       who's standing in the shoes that Mr. Furreh was standing in

10       when first approached, and I would submit to you, Your

11       Honor, that that's going to happen, that individual should

12       understand that he should not be able to get away with his

13       lies for two years and someday come into court and walk out

14       again that same day with no further sanction than their plea

15       of guilty.    That individual should appreciate that doing the

16       right thing right away matters, that when he lies that first

17       time and he maintains the lie, that something should start

18       counting against him, that the clock should start running,

19       and so when someone maintains their lie for two years, that

20       should mean something.

21                    And in the government's view, that should mean a

22       sentence of about the same period of time that they

23       maintained their lie, that they maintained their adverse

24       posture against the United States, and so that's why the

25       government believes that lying to law enforcement should be



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 1       consequential.     And a sentence of four months -- or four

 2       days, rather, is not consequential and it won't help law

 3       enforcement do their job, it won't help law enforcement keep

 4       the next individual from joining Al-Shabaab where they're

 5       going to go die and perhaps kill others in the process or

 6       join ISIS.

 7                    And so for that reason, Your Honor, we believe

 8       that the Court's sentence here is very important on a going

 9       forward basis.     And in the government's view, a sentence of

10       25 months of the guideline range is appropriate, and not

11       more than necessary, to meet those important interests.

12       Thank you, Your Honor.

13                    THE COURT:   Thank you.

14                    MS. ATWAL:   Your Honor, may I respond briefly?

15                    THE COURT:   You may.

16                    MS. ATWAL:   Thank you Your Honor.     I am hopeful,

17       given the length of time that I've done these types of

18       cases, that at some point the message will be to the

19       community when approached by law enforcement, don't lie.         If

20       you don't lie, you won't be prosecuted, you won't have to

21       come to court such that the Court will have to take into

22       consideration cooperation or any of these issues that

23       Mr. Kovats brought up.

24                    The reality is, sadly, that we do have defendants

25       that do lie, just like Mr. Furreh.        But I also want it to be



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 1        known that when you do start telling the truth, things do

 2        get better for you.       For him, it took getting arrested and

 3        prosecuted in federal court and the consequence of that, you

 4        don't have a job, you can't support your family, you're

 5        going to wear that bracelet around, you are monitored 24/7,

 6        there are consequences if you li and the consequences get

 7        bigger if you don't help the government or you don't help

 8        your community to make it better.

 9                     I'm not asking the Court to ignore his offense

10        conduct because it's serious.      He lied.    That very offense

11        of lying, he tried to correct that very thing, that very

12        thing of lying, he flipped over and told the truth.         Is that

13        a part of 3553(a) factors?      Yes, along with a slew of other

14        good things, such as being -- doing well on pre-trial

15        services, staying law-abiding, staying employed.         But let's

16        look at the offense and the behavior afterwards related to

17        the offense.    Lies, truths, truths, so much that it helped

18        the very people he lied to.      That should count for

19        something.    And I am asking for it to count more than the

20        government, and that is why I'm asking for the sentence of

21        supervised release with credit time served or probation with

22        a special condition that he serve the jail sentence I

23        requested.    Thank you, Your Honor.

24                     THE COURT:    Thank you.

25                     On October 3rd, 2014, the defendant pled guilty to



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 1        false statement in violation of Title 18, United States

 2        Code, Section 1001A.     It is considered and adjudged that the

 3        defendant is guilty of that offense.       The Court has read the

 4        presentence investigation report.       The Court has read the

 5        submissions of counsel.     The Court has reviewed the motion

 6        by the government for a downward departure pursuant to

 7        Sentencing Guidelines 5K1.1 and has granted -- and have

 8        granted that motion.     The Court has reviewed all the

 9        pertinent United States Supreme Court decisions and Eighth

10        Circuit Court of Appeals decisions that would pertain to

11        this case.    The Court has reviewed my own sentencings over

12        the last few years, and the Court will apply the factors

13        under Title 18, 3553(a) in sentencing the defendant here

14        today.

15                     The defendant is hereby sentenced to the care and

16        custody of the Bureau of Prisons for a term of 24 months.

17        There is no fine imposed.      And there is no forfeiture

18        issues.   The defendant is sentenced to a term of three years

19        supervised release.

20                     The following mandatory conditions are applicable:

21                     The defendant must report to the United States

22        Probation and Pre-trial Services Office in the district to

23        which the defendant is released within 72 hours of release

24        from the custody of the Bureau of Prisons.

25                     Next, the defendant shall not commit any crimes,



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 1        federal, state, or local.

 2                   Next, the mandatory drug testing is suspended

 3        based on the Court's determination that the defendant poses

 4        a low risk of future substance abuse.

 5                   Next, the defendant shall not possess a firearm,

 6        ammunition, destructive device, or any other dangerous

 7        weapon.

 8                   Next, the defendant shall cooperate in the

 9        collection of DNA as directed by the probation officer.

10                   The defendant shall abide by the standard

11        conditions of supervised release that have been adopted by

12        this Court, including the following special conditions:

13                   The defendant shall submit his person, residence,

14        office, vehicle, or other area under the defendant's control

15        to a search conducted by the United States probation officer

16        or supervised designee at a reasonable time and in a

17        reasonable manner based upon reasonable suspicion of

18        contraband or evidence of a supervision violation.         The

19        defendant shall warn any other residents or third parties

20        that the premises and areas under the defendant's control

21        may be subject to searches pursuant to this condition.

22                   The defendant shall not possess or use a computer

23        or have access to any on-line service without the prior

24        approval of the United States Probation and Pre-trial

25        Services Office.    The defendant's cooperation shall include,



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 1        but not be limited to, allowing installation of a computer

 2        and internet monitoring program and/or identifying computer

 3        systems, internet-capable devices, and similar memory or

 4        electronic devices to which the defendant has access.

 5        Monitoring may include random examinations of computer

 6        systems, along with the internet, electronic, and media

 7        storage devices under the defendant's control.         The computer

 8        system or devices may be removed for more thorough

 9        examination if necessary.      The defendant shall contribute to

10        the cost of such monitoring services based on the

11        defendant's ability to pay as deemed appropriate by the

12        United States Probation and Pre-trial Services Office.

13                   Next, the defendant shall provide the probation

14        officer access to any requested financial information,

15        including credit reports, credit card bills, bank

16        statements, and telephone bills.

17                   Next, the defendant shall cooperate with child

18        support officials to make regular support payments and pay

19        any outstanding child support obligations.

20                   Next, the defendant shall participate in

21        educational programming as approved by the probation officer

22        to obtain a high school diploma or general equivalency

23        diploma, GED.

24                   Next, if not employed at a regular, lawful

25        occupation as deemed appropriate by the probation officer,



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 1        the defendant may be required to perform up to 20 hours of

 2        community service per week until employed.        The defendant

 3        may also participate in training, counseling, daily job

 4        search, or other employment-related activities as directed

 5        by the probation officer.

 6                   Next, the defendant shall not possess or view,

 7        access, or otherwise use material that reflects extremist or

 8        terroristic views or as deemed to be inappropriate by the

 9        United States probation officer.

10                   Next, the defendant shall participate in a mental

11        health counseling program as approved by the probation

12        officer.   This program may include psychological and/or

13        psychiatric counseling or treatment, family counseling, or

14        mental -- a mentor support.

15                   Next, the defendant must submit to periodic

16        polygraph testing at the direction of the probation officer

17        as a means to ensure compliance with the requirements of

18        supervision.

19                   Next, for the purpose of verifying compliance with

20        any court-imposed condition of supervision, the defendant

21        shall be placed on a program of standalone monitoring for

22        the duration of his term of supervised release in which he

23        will be monitored by the location monitoring technology,

24        with or without a specific schedule, as directed by the

25        probation officer.     The defendant shall not be required to



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 1        pay for the cost of such location monitoring.

 2                    Finally, there's a $100 special assessment payable

 3        to the crime victims fund which is due and payable

 4        immediately.

 5                    Sir, if you feel the Court has not followed the

 6        law in the imposition of your sentence here today, you have

 7        a right to appeal my sentence to the Eighth Circuit Court of

 8        Appeals, and that appellate court sits in St. Louis,

 9        Missouri.   That court reviews all of my sentences to make

10        sure that I have followed the law and the Constitution, and

11        you have a right to appeal my sentence to that court.            You

12        have 14 days from today's date to file your notice of appeal

13        to that court.    Ms. Atwal can file that notice for you or

14        you can file it yourself or you can hire an attorney to file

15        it for you.    But in any event, you have 14 days from today's

16        date to file the notice giving notice to that court that you

17        are appealing my sentence.

18                    Do you have any questions about that?

19                    THE DEFENDANT:    No, Your Honor.

20                    THE COURT:    You understand your sentence?

21                    THE DEFENDANT:    Yes, Your Honor.

22                    THE COURT:    All right.   Anything further for the

23        government?

24                    MR. KOVATS:   No, Your Honor.     Thank you.

25                    THE COURT:    Anything further for defense?



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 1                     MS. ATWAL:    Your Honor, respectfully, we would ask

 2        that the Court recommend that he -- to the BOP that he serve

 3        his time here in Minnesota; and two, that he be able to

 4        voluntarily surrender to that prison.

 5                     THE COURT:    Because of the nature of this case and

 6        where he -- where the other defendants in other cases may

 7        be, I'm not going to make any recommendation to the Bureau

 8        of Prisons because they'll have to make sure, take care of

 9        his safety, and that's the main thing I want taken care of

10        is his safety while he's in custody by the Bureau of Prisons

11        and so they'll be able to -- be able to figure that out

12        better than me making a recommendation that he be in

13        Minnesota.

14                     And as for turning himself in, I'm denying that.

15        He'll be taken into custody now.

16                     Anything further?

17                     MS. ATWAL:    No.

18                     MR. KOVATS:   No, Your Honor.

19                     THE COURT:    All right.   Sir, have a seat.

20        The -- you're going into custody now.

21             (Proceedings concluded at 10:30 a.m.)

22

23                                    *     *      *

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 1                  I, Staci A. Heichert, certify that the foregoing is

 2        a correct transcript from the record of proceedings in the

 3        above-entitled matter.

 4

 5                        Certified by:    s/ Staci A. Heichert

 6                                          Staci A. Heichert,
                                            RDR, CRR, CRC
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